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STATE OF INDIANA BOONE COUNTY SUPERIOR
COUNTY OF BOONE . COURT PROBATE DIVISION

ESTATE DOCKET 06-D01-0911-EU-132

AMENDED PERSONAL REPRESENTATIVE’S INVENTORY
Amended June 1, 2010

Estate of Robert C. Kozlowski, Deceased
Total amount of Bond of Personal Representative presently of file: $0.00

The following items are all of the property of the decedent of which this personal representative
has knowledge. All known encumbrances, liens. and other charges on any item are also stated.

OBLIGATIONS OF DECEDENT VALUE

1. Robert Kozlowski had executed a personal guarantee on a Promissory
Note created by The Kozlowski Law Firm, P.A., 927 Lincoln Road,
#208, Miami Beach, FL 33139. The lender under the note was Mellon
United National Bank, 1111 Brickell Avenue, 30th Floor, Miami, FL
33131-3128, The Original principal amount of the note was
$175,000.00, with a loan date of 7-30-2003 and a maturity date of
8-5-2008. The Account Number on said note is as follows: 1100999,
The successor institution to Mellon United National Bank
(BNYMellon) has been contacted with regard to determining the status

 

 

of this loan and corresponding guarantee. 5 Unknown at
this time.
REAL PROPERTY (Give LEGAL description) VALUE
Total $0.00

 

FURNITURE AND HOUSEHOLD GOODS (Please Note: LC. 32-17-11-29)

 

Total $0.00

 

CORPORATE STOCK (Give Par Value, Class, Dividend Rate, if preferred)

1. A 100% Interest in the common stock of BK. Holdings, Inc.. which consists of the
following property:
 

 

 

The Rental Properties located at 634 8. North St. in Kendallville, IN valued at
$140,000.00 and a bank account whose balance was $11,971.87 as of March 31, 2010 for

a total of $151,971.87

 

Total $151,971.87

 

MORTGAGES, BONDS, NOTES, OTHER WRITTEN EVIDENCES
OF DEBT (Recording date- Principal and Dates of Notes, Credits and
Dates, Commencement and Rate of Interest, etc.)

 

to

Secured Promissory Note On Drawn Line Of Credit Up To $100,000.00

Principal: Steven Robert Kozlowski, individually and on behalf of The Kozlowski Law
Firm, P.A.

Outstanding Principal Balance Due: $43,812.00, plus interest past due and accrued.

Rate of interest: Prime Rate as noted in the Wall Street Journal and annualized at time of
interest payment.

Loan to Edward Desrosiers: Balance Due in the Amount of $24,800.00 (a suit by the
estate has been initiated with regard to recovering this unpaid balance).

 

Total $68,612.00 (plus interest thereon)

 

BANK ACCOUNTS, MONEY, INSURANCE PAYABLE TO ESTATE

 

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Estate Account with AMI Investment Management, Inc. (In the initial amount of
$500,000.00, less distributions made to Steven Kozlowski, Zachary Horwitz and Jessica
Horwitz in the amounts of $125,000.00 each. Total Distributions Being $375,000.00)

Value of Account Following Distributions: $125,000.00

Estate Account with Chase Bank which includes the proceeds from the sale of the
following estate assets: 2006 Jeep (Sold for $16,000.00), Property located at 618 Sumpter
Dr., Fort Wayne, IN (sold for $28,689.35), Harley Davidson Soft Tail Classic (sold
through B.J. Nichols in the amount of $8,000.00), Sale of American Eagle RV through

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Sirpilla RV Center, LLC (sold for $185,700.00 less amount owed on outstanding loan of
$118,332.15 leaving net proceeds of $67,367.85) Total Proceeds from sale of assets:
$120,057.20.

Plus Amounts received as follows:

Refund from Indiana Comprehensive Health Insurance Assoc. in amount of $3,718.60;

December 9, 2009 payment by Edward Desrosiers toward outstanding loan in amount of
$500.00;

January 10, 2010 payment by Edward Desrosiers toward outstanding loan in amount of
$500.00.

 

Total $124,775.80

 

ALL OTHER PROPERTY (Includes Decedent’s Partnership Interest, etc.)

 

Robert Kozlowski at the time of his death owned 4 9.452585% membership interest in
Cobblestone Golf, LLC, a business valuation of this LLC is currently underway, being conducted
by the BKD accounting firm, a statement as to the value of this interest shall be provided upon
receipt of the valuation information.

 

Total *to be provided

2EPRESENTATIVE MAY ATTACH A SHEET FOR ADDITIONAL INVENTORY

RECAPITULATION
Appraised Value of Real Property.....s-csceseceeteten $0.00 ‘
Appraised Value of Furniture, Household Goods............... $0.00
Appraised Value of Corporate Stock... cesessneeecenenneens $151,971.87
Appraised Value of Mortgages, Bonds, Notes.........scusse $68,612.00 (plus interest thereon)
Appraised Value of Bank Accounts, Money......eces es $124,775.80
Appraised Value of all other property... cece $To Be Provided
Less Obligations of Decedent.......0....c0: cece eens $(Amount to be Provided}
Total Appraised Value of Estate... cece $470,135.47 plus amounts to be determined

and interest on loans owed decedent

 
 

 

Tatfirm under the penalties for perjury, that the forcgoing inventory contains a complete statement
of all the estate of said decedent which has come to niy knowledge listed at its fair market value.

Signed lta ae, Lo ef ht et

Susan Kozlowski, As Personal
Representative of the Estate of
Robert C. Kozlowski, Deceased

 

 
